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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

  LINDSAY RAFFERTY, on behalf of                  :
  herself and all others similarly situated,      :
  known and unknown,                              :
                                                  :
                         Plaintiff,               :        Case No. 1:19-cv-24706-DLG
                                                  :
                                                  :
                                                  :
  v.                                              :
                                                  :
                                                  :
  DENNY’S INC., a Florida Corporation,            :
                                                  :
                        Defendant.                :

                                       NOTICE OF SETTLMENT

          Defendant, Denny's Inc., hereby notifies the Court that the parties have reached an

  agreement to resolve all claims in the above-referenced matter and will promptly submit the

  requisite agreement and motion for court approval. The parties will ask the court to determine

  the amount of fees and costs plaintiff is entitled to.

  Dated November 5, 2021                                   Respectfully submitted,

                                                           By:      /s/ Luis A. Santos
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                                                                 Attorneys for Defendant Denny’s,
                                                                 Inc.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 5, I electronically filed the foregoing with the
  Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to:

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